     Case 2:21-mc-01230-JFC          Document 3080        Filed 01/03/25     Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS LIABILITY                     Master Docket: Misc. No. 21-01230
 LITIGATION

 This Document Relates To:                         MDL No. 3014

 Personal Injury Claimants and Potential
 Claimants


                          JOINT MOTION TO RESCHEDULE THE
                         JANUARY 14, 2025 STATUS CONFERENCE

       Due to the extension of the Personal Injury Settlement Registration Deadline, the parties

are not aware of any issues requiring the Court’s attention on January 14 and therefore jointly

move the Court to reschedule the status conference to February 25, 2025.



Dated: January 3, 2025                             Respectfully submitted,


 /s/ John P. Lavelle, Jr.                        /s/ Christopher A. Seeger
 John P. Lavelle, Jr. (PA 54279)                 Christopher A. Seeger (NJ 042631990)
 Lisa C. Dykstra (PA 67271)                      SEEGER WEISS LLP
 MORGAN, LEWIS & BOCKIUS LLP                     55 Challenger Road, 6th Floor
 2222 Market Street                              Ridgefield Park, NJ 07660
 Philadelphia, PA 19103-3007                     (973) 639-9100 (phone)
 (215) 963-5000 (phone)                          cseeger@seegerweiss.com
 john.lavelle@morganlewis.com
 lisa.dykstra@morganlewis.com                    /s/ Sandra L. Duggan
                                                 Sandra L. Duggan (PA 56420)
 /s/ Wendy West Feinstein                        LEVIN SEDRAN & BERMAN LLP
 Wendy West Feinstein (PA 86698)                 510 Walnut Street, Suite 500
 MORGAN, LEWIS & BOCKIUS LLP                     Philadelphia, PA 19106
 One Oxford Center, 32nd Floor                   (215) 592-1500 (phone)
 Pittsburgh, PA 15219-6401                       sduggan@lfsblaw.com
 (412) 560-3300 (phone)
 wendy.feinstein@morganlewis.com                 /s/ Steven A. Schwartz
                                                 Steven A. Schwartz (PA 50579)
    Case 2:21-mc-01230-JFC         Document 3080          Filed 01/03/25     Page 2 of 2




/s/ Erik T. Koons                                CHIMICLES SCHWARTZ KRINER &
Erik T. Koons (DC 468289)                        DONALDSON-SMITH LLP
BAKER BOTTS LLP                                  361 West Lancaster Avenue
700 K St. NW                                     Haverford, PA 19041
Washington, DC 20001                             (610) 642-8500 (phone)
(202) 639-7973 (phone)                           steveschwartz@chimicles.com
erik.koons@bakerbotts.com
                                                 /s/ Kelly K. Iverson
/s/ Andrew T. George                             Kelly K. Iverson (PA 307175)
Andrew T. George (PA 208618)                     LYNCH CARPENTER, LLP
BOURELLY, GEORGE + BRODEY LLP                    1133 Penn Avenue, 5th Floor
1050 30th Street, NW                             Pittsburgh, PA 15222
Washington, DC 20007                             (412) 322-9243 (phone)
(202) 753-5012 (phone)                           kelly@lcllp.com
andrew.george@bgblawyers.com

Counsel for Defendant Philips RS North           /s/ Roberta D. Liebenberg
America LLC                                      Roberta D. Liebenberg (Chair) (PA 31738)
                                                 FINE, KAPLAN AND BLACK, R.P.C.
/s/ William B. Monahan                           One South Broad Street, 23rd Floor
Tracy Richelle High (NY 3020096)                 Philadelphia, PA 19107
William B. Monahan (NY 4229027)                  (215) 567-6565 (phone)
SULLIVAN & CROMWELL LLP                          rliebenberg@finekaplan.com
125 Broad Street
New York, NY 10004                               Plaintiffs’ Negotiating Counsel
(212) 558-4000 (phone)
hight@sullcrom.com                               /s/ D. Aaron Rihn
monahanw@sullcrom.com                            D. Aaron Rihn (PA 85752)
                                                 ROBERT PEIRCE & ASSOCIATES, P.C.
Michael H. Steinberg (of counsel)                707 Grant Street
(CA 134179)                                      Suite 125
SULLIVAN & CROMWELL LLP                          Pittsburgh, PA 15219
1888 Century Park East                           412-281-7229
Los Angeles, CA 90067                            412-281-4229 (fax)
(310) 712-6670 (phone)                           arihn@peircelaw.com
steinbergm@sullcrom.com                          Plaintiffs’ Co-Liaison Counsel
Counsel for Defendants Koninklijke Philips
N.V., Philips North America LLC, Philips
Holding USA Inc., and Philips RS North
America Holding Corporation




                                             2
